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                           EXHIBIT 1

                       Plaintiff               Cause No.
        1          Abeyta, Erica L           1:24-cv-00339
        2           Acosta, Vilma            1:24-cv-00351
        3          Aguilar, Martha           1:21-cv-05180
        4           Allen, Brandon           1:21-cv-04522
        5            Amos, Sarah             1:21-cv-04199
        6         Ayala, Champagne           1:22-cv-02876
        7        Bainguel, Kimberly          1:22-cv-02696
        8     Barbecho, Maira Alexander      1:23-cv-05822
        9           Barnes, Rianne           1:21-cv-01700
       10          Barone, Danielle          1:23-cv-01666
       11         Bartram, Stephanie         1:21-cv-03635
       12         Bennett, Amber M           1:23-cv-01648
       13         Benson, Naomi N            1:23-cv-01704
       14           Berry, Tracy L           1:23-cv-01713
       15          Bogle, Rebecca            1:21-cv-04203
       16            Botez, Anca             1:22-cv-00056
       17          Bounds, Valerie           1:22-cv-02537
       18        Boyd, Erin Victoria         1:22-cv-02679
       19          Bradford, Sonia           1:23-cv-02405
       20        Broedel, Antoinette         1:21-cv-02922
       21          Brooks, Nicole T          1:23-cv-01707
       22           Brown, Devin             1:21-cv-02537
       23         Brown, Ebonee D            1:21-cv-02920
       24           Brown, Virona            1:24-cv-00039
       25       Burns-Rincon, Tamara         1:22-cv-04757
       26        Bustamante, Sandra          1:24-cv-00330
       27          Carson, Nateshia          1:23-cv-01705
       28        Cascadden, Lindsey          1:21-cv-05120
       29           Child, Alice D           1:22-cv-04986
       30       Christiansen, Christina      1:21-cv-00206
       31           Clayton, Tonya           1:21-cv-03382
       32       Copeland, Kathlene P         1:23-cv-03474
       33            Couce, Maria            1:22-cv-01243
       34           Craig, Kristy K          1:21-cv-03391
       35             Cruz, Erika            1:21-cv-03425
       36            Cruz, Julieta           1:22-cv-02213
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       37       Cunningham, Conjetta         1:22-cv-00432
       38       Cunningham, Mariam           1:21-cv-02725
       39            Cutts, Hannah           1:22-cv-04130
       40           Dawson, Dawn             1:21-cv-02930
       41        Del Campo, Jossie           1:21-cv-00199
       42       Del Rosario, Stephane        1:21-cv-01793
       43           Deleon, Denisse          1:21-cv-02987
       44          DeSelms, Carrie           1:21-cv-00111
       45            Diehl, Carrie           1:21-cv-00398
       46           Dore, Albertine          1:21-cv-02035
       47          Dressen, Jennifer         1:22-cv-04651
       48           Ebaben, Louisa           1:21-cv-00399
       49         Edwards, Lydia L           1:21-cv-03438
       50           Epstein, Lauren          1:21-cv-03948
       51           Foley, Kerissia          1:22-cv-00492
       52            Fox, Heather            1:22-cv-00499
       53      Garrison-Stewart, Sheina      1:22-cv-01028
       54          Gomez, Maria E            1:21-cv-04907
       55           Hada, Katharine          1:21-cv-02599
       56          Hadley, Whitney           1:22-cv-01029
       57            Haring, Sarah           1:22-cv-01660
       58         Hartline, Jerrica J.       1:21-cv-04548
       59           Horton, Jennifer         1:21-cv-02435
       60          Jedlicka, Camille         1:22-cv-02606
       61          Jemiolo, Patricia         1:22-cv-00464
       62         Jimenez, Yolanda           1:21-cv-05004
       63         Johnston, Vanessa          1:22-cv-00442
       64            Joyner, Caley           1:21-cv-01708
       65        Knowles, Krista D           1:22-cv-02965
       66           Lenart, Loriann          1:21-cv-02423
       67            Little, Bettina         1:21-cv-05007
       68           Little, Cheniqua         1:21-cv-02693
       69            Liza, Marissa           1:21-cv-02686
       70               Love, Jill           1:21-cv-04989
       71            Lusk, Christi           1:21-cv-04222
       72           Motter, Georgia          1:21-cv-04045
       73          Schmehl, Sophie           1:22-cv-00887
       74           Sosa, Magdelyn           1:22-cv-02614
       75           Tjhin Lin, Siska         1:22-cv-03610

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       76         White, Marsha              1:22-cv-01564
       77        Williams, Brandi            1:21-cv-02918
       78          Wilson, Traci             1:21-cv-04061
       79       Worthington, Chelsea         1:21-cv-04033




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